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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the

                                                      District of South Carolina


                      Sha’Quan Gay,                               )
                           Petitioner,                            )
                               v.                                 )       Civil Action No.     0:21-cv-02505-DCN
  Warden, Lexington County Detention Center,                      )
                          Respondent.                             )

                                    JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the petitioner (name)            recover from the respondent (name)             the amount of
dollars ($ ), which includes prejudgment interest at the rate of   %, plus postjudgment interest at the rate of
      %, along with costs.

’ the petitioner recover nothing, the action be dismissed on the merits, and the respondent (name)
           recover costs from the petitioner (name)                       .

O the petitioner, Sha’Quan Gay, shall take nothing of the respondent, Warden, Lexington County Detention
Center, and this action is dismissed without prejudice.

This action was (check one):

’ tried by a jury, the Honorable                              presiding, and the jury has rendered a verdict.

’ tried by the Honorable                            presiding, without a jury and the above decision was reached.

O decided by the HonorableDavid C Norton, United States District Judge, presiding, affirming with the
Report and Recommendation of the Honorable Paige J. Gossett, United States Magistrate Judge, which
recommended dismissing the action.


Date: October 18, 2021                                                   ROBIN L. BLUME, CLERK OF COURT

                                                                                              s/L. Baker
                                                                                   Signature of Clerk or Deputy Clerk
